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6
     Attorneys for Plaintiff-Intervenor Christopher Lipsey
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8
                                IN THE UNITED STATES DISTRICT COURT
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                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                          SACRAMENTO DIVISION
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13   RALPH COLEMAN, et al.,                           Case No. CIV S-90-0520 KJM DB P
14                                         Plaintiff, DECLARATION OF KATE
                                                      FALKENSTIEN IN SUPPORT OF
15                 v.                                 CHRISTOPHER LIPSEY’S MOTION TO
                                                      INTERVENE
16
     GAVIN NEWSOM, et al.,                            Judge:        Hon. Kimberly Mueller
17
                                                      Action Filed: April 23, 1990
18
                                        Defendants.

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       Case 2:90-cv-00520-KJM-SCR              Document 6389-1        Filed 11/14/19      Page 2 of 2


1    I, Kate Falkenstien, hereby declare as follows:
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            1.      I am an attorney with Reichman Jorgensen LLP, counsel for Plaintiff-Intervenor
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     Christopher Lipsey in this matter. I am admitted to the California bar. I have personal knowledge of the
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     matters set forth herein. If called upon to testify, I could and would testify competently hereto.
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6           2.      This Declaration is submitted in support of Lipsey’s Motion to Intervene.

7           3.      Exhibit A to this Declaration is a true and correct copy of emails I exchanged with Steven
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     Fama, a Staff Attorney at Prison Law Office, in June 2017.
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            4.      Exhibit B to this Declaration is a true and correct copy of Defendants’ Responses to
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     Lipsey’s First Set of Requests for Admission in Lipsey v. Norum.
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13
            I declare under penalty of perjury under the laws of California and the United States of America
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     that the foregoing is true and correct.
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17          Executed this 14th day of November, 2019, in Redwood Shores, California.
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                                                                          /s/ Kate Falkenstien
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             Falkenstien Decl. in Supp. of Lipsey’s Motion to Intervene (CIV S-90-0520 KJM DB P)
